Case 2:19-cv-10586-GAD-SDD ECF No. 14 filed 06/20/19                                                              PageID.123   Page 1 of 1
MIED (Rev. 5/05) Statement of Disclosure of Corporate Affiliations and Financial Interest



                                                          UNITED STATES DISTRICT COURT
                                                          EASTERN DISTRICT OF MICHIGAN

Michael J. House


                         Plaintiff(s),                                                 Case No. 2:19-CV-10586

v.                                                                                     Judge Gershwin A. Drain

General Electric Co., et al.                                                           Magistrate Judge Stephanie Dawkins Davis


                         Defendant(s).


                                            STATEMENT OF DISCLOSURE
                                  OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

             Pursuant to E. D. Mich. LR 83.4, General Electric Co.

makes the following disclosure: (NOTE: A negative report, if appropriate, is required.)

1.           Is said corporate party a subsidiary or affiliate of a publicly owned corporation?
             Yes ED                   No ®✓
             If the answer is yes, list below the identity of the parent corporation or affiliate and the relationship
             between it and the named party.

             Parent Corporation/Affiliate Name:
             Relationship with Named Party:

 2.          Is there a publicly owned corporation or its affiliate, not a party to the case, that has a substantial financial
             interest in the outcome of the litigation?

             Yes      El               No [7:1
              If the answer is yes, list the identity of such corporation or affiliate and the nature of the financial interest.

              Parent Corporation/Affiliate Name:
              Nature of Financial Interest:


 Date: June 20, 2019                                                                        /s/ Jason M. Renner

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